                                                                                                                                                 4/10/23 3:14PM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF MICHIGAN

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Atlas Systems, Inc.

2.   All other names debtor       DBA ATLASPHONES.COM
     used in the last 8 years     DBA AUCTIONJAXSON
                                  DBA GLOBAL PHONE SUPPLY
     Include any assumed
     names, trade names and       DBA TELECOMRECYCLE.COM
     doing business as names      FDBA THE TELECOM DEALER
                                  DBA BUSINESS PHONE SOURCE

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1220 Centre Road
                                  Auburn Hills, MI 48326
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Oakland                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.atlasphones.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Atlas Systems, Inc.                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4249

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Atlas Systems, Inc.                                                                             Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
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Debtor   Atlas Systems, Inc.                                                          Case number (if known)
         Name

                               $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    Atlas Systems, Inc.                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 10, 2023
                                                  MM / DD / YYYY


                             X   /s/ Christopher Klow                                                     Christopher Klow
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Vice President




18. Signature of attorney    X   /s/ John J. Stockdale, Jr.                                                Date April 10, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 John J. Stockdale, Jr.
                                 Printed name

                                 Schafer and Weiner, PLLC
                                 Firm name

                                 40950 Woodward Ave., Suite 100
                                 Bloomfield Hills, MI 48304
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (248) 540-3340                Email address      jstockdale@schaferandweiner.com

                                 P71561 MI
                                 Bar number and State




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Fill in this information to identify the case:

Debtor name         Atlas Systems, Inc.

United States Bankruptcy Court for the:     EASTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       April 10, 2023                  X /s/ Christopher Klow
                                                           Signature of individual signing on behalf of debtor

                                                            Christopher Klow
                                                            Printed name

                                                            Vice President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




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 Fill in this information to identify the case:

 Debtor name            Atlas Systems, Inc.

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF MICHIGAN

 Case number (if known)
                                                                                                                                                                                         Check if this is an
                                                                                                                                                                                         amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                    $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                       $        2,062,836.11

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                      $        2,062,836.11


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                    $        2,072,054.04


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                       $            25,750.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                               +$           183,643.38


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                             $           2,281,447.42




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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Fill in this information to identify the case:

Debtor name         Atlas Systems, Inc.

United States Bankruptcy Court for the:     EASTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     TD Ameritrade (as of 1-31-23)                     Investment                            1690                                  $550,179.87




          3.2.     Huntington Bank (operations)                      Checking                              6792                                  $365,233.17




          3.3.     Huntington Bank (payroll)                         Checking                              0759                                             $0.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                   $915,413.04
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit



Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1


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Debtor           Atlas Systems, Inc.                                                        Case number (If known)
                 Name

                   Carlson, Gaskey & Olds, PC
                   400 West Maple, Ste. 350
                   Birmingham, MI 48009
          7.1.     Retainer                                                                                                             $30,000.00


                   Schafer and Weiner, PLLC
                   40950 Woodward Ave., Ste. 100
                   Bloomfield Hills, MI 48304
          7.2.     Retainer                                                                                                             $20,784.30



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                          $50,784.30
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                   180,814.09       -                                   0.00 = ....                 $180,814.09
                                       face amount                            doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                         $180,814.09
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used    Current value of
                                             physical inventory            debtor's interest         for current value        debtor's interest
                                                                           (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale
          Phones                                                                   $578,615.00       Fair Markt Value                  $578,615.00



22.       Other inventory or supplies


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                         page 2

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Debtor       Atlas Systems, Inc.                                                            Case number (If known)
             Name


23.       Total of Part 5.                                                                                                       $578,615.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                      0.00 Valuation method                          Current Value                  93,648.00

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
                                                                         debtor's interest          for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture
          Office Furniture                                                                $0.00     Liquidation                       $99,876.39



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          8 cubicle style office spaces with chairs
          3 individual offices with desks and file
          cabinets/chairs
          1 conference room with conference table and
          chairs
          11 total computers in use                                                       $0.00     Liquidation                       $15,567.29



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                          $115,443.68
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
              No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3

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Debtor       Atlas Systems, Inc.                                                       Case number (If known)
             Name


             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used       Current value of
          Include year, make, model, and identification numbers      debtor's interest         for current value           debtor's interest
          (i.e., VIN, HIN, or N-number)                              (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    2023 Cadillac Escalade VIN
                   1GYS4GKL8PR109822
                   Blue Book                                                   $36,620.00      Blue Book                            $128,288.00


          47.2.    2016 Land Rover Range Rover VIN#
                   SALGS2EF8GA306345
                   Blue Book                                                         $0.00     Blue Book                             $36,608.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)

51.       Total of Part 8.                                                                                                      $164,896.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
              No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and           Net book value of         Valuation method used   Current value of
          property                              extent of            debtor's interest         for current value       debtor's interest
          Include street address or other       debtor's interest    (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                        page 4

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Debtor        Atlas Systems, Inc.                                                         Case number (If known)
              Name

           55.1.
                    1220 Centre Road
                    Auburn Hills, MI 48326        Leasehold                         Unknown           N/A                                 Unknown




56.        Total of Part 9.                                                                                                                 $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of             Valuation method used   Current value of
                                                                        debtor's interest             for current value       debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           www.atlasphones.com
           www.atlasphone.com
           www.Atlasrecov.com
           www.Atlasinstallers.com
           www.telecomrecycle.com
           www.sellpolycom.com                                                      Unknown                                               Unknown



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                                $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                         page 5

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Debtor        Atlas Systems, Inc.                                                          Case number (If known)
              Name

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                                Current value of
                                                                                                                                debtor's interest


71.        Notes receivable
           Description (include name of obligor)
                                                                          6,870.00 -                                   0.00 =
           Atlas Property Holdings, LLC                          Total face amount      doubtful or uncollectible amount                   $6,870.00



72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

           Michigan Flow-Through Entity Tax Receivable                                       Tax year 2022                                $50,000.00



73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership

78.        Total of Part 11.                                                                                                            $56,870.00
           Add lines 71 through 77. Copy the total to line 90.

79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
              No
              Yes




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                           page 6

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Debtor          Atlas Systems, Inc.                                                                                 Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $915,413.04

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $50,784.30

82. Accounts receivable. Copy line 12, Part 3.                                                                   $180,814.09

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                             $578,615.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                        $115,443.68

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $164,896.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                  $56,870.00

91. Total. Add lines 80 through 90 for each column                                                         $2,062,836.11            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,062,836.11




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                           page 7

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Fill in this information to identify the case:

Debtor name         Atlas Systems, Inc.

United States Bankruptcy Court for the:           EASTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Ascentium Capital                            Describe debtor's property that is subject to a lien                          $0.00                    $0.00
      Creditor's Name                              LED Lighting, Michigan Saver Contractor Fee
      Attn: CT Corp as Agent
      330 N. Brand Blvd, Ste. 700
      Glendale, CA 91203
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Jenne, Inc.                                  Describe debtor's property that is subject to a lien                       $593.04           $2,042,051.81
      Creditor's Name                              All Asset Lien
      33665 Chester Road
      Avon, OH 44011
      Creditor's mailing address                   Describe the lien
                                                   All Asset Lien
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3


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Debtor       Atlas Systems, Inc.                                                                   Case number (if known)
             Name

           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



       Small Business
2.3                                                                                                                     $2,000,000.00                $2,042,051.81
       Administration                              Describe debtor's property that is subject to a lien
       Creditor's Name                             All Asset Lien
       409 3rd St. SW
       Washington, DC 20416
       Creditor's mailing address                  Describe the lien
                                                   All Asset Lien
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9102
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.4    U.S. Bank                                   Describe debtor's property that is subject to a lien                      $71,461.00               $128,288.00
       Creditor's Name                             2023 Cadillac Escalade VIN
                                                   1GYS4GKL8PR109822
       1850 Osborn Ave.                            Blue Book
       Oshkosh, WI 54902
       Creditor's mailing address                  Describe the lien
                                                   Purchase Money Security
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.




                                                                                                                            $2,072,054.0
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       4

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 3


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Debtor    Atlas Systems, Inc.                                                Case number (if known)
          Name

      Name and address                                                               On which line in Part 1 did       Last 4 digits of
                                                                                     you enter the related creditor?   account number for
                                                                                                                       this entity
      United States Attorney
      Eastern District of Michigan                                                   Line   2.3                                9102
      211 W. Fort Street, Suite 2001
      Detroit, MI 48226




Official Form 206D        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3 of 3


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Fill in this information to identify the case:

Debtor name        Atlas Systems, Inc.

United States Bankruptcy Court for the:         EASTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                     $0.00      Unknown
          Internal Revenue Service                             Check all that apply.
          c/o United States Attorney                              Contingent
          for the District of Michigan                            Unliquidated
          211 W. Fort Street, Suite 2001                          Disputed
          Detroit, MI 48226
          Date or dates debt was incurred                      Basis for the claim:


          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.2       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                             $25,750.00         Unknown
          State of Michigan                                    Check all that apply.
          Dept of Treasury                                        Contingent
          3030 W. Grand Blvd.                                     Unliquidated
          Ste. 10-200                                             Disputed
          Detroit, MI 48202
          Date or dates debt was incurred                      Basis for the claim:
                                                               Various Employee Wages
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 6
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Debtor      Atlas Systems, Inc.                                                             Case number (if known)
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $265.00
         Ascenda/ATI                                                  Contingent
         750 Warrenville Road, Ste. 250                               Unliquidated
         Lisle, IL 60532                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number   3981
                                                                   Is the claim subject to offset?      No      Yes

3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $475.09
         AT&T Mobility                                                Contingent
         2051 N. Squirrel Road                                        Unliquidated
         Auburn Hills, MI 48326                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?      No      Yes

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $25,704.00
         Atlas Property Holdings, LLC                                 Contingent
         1220 Centre Road                                             Unliquidated
         Auburn Hills, MI 48326                                       Disputed
         Date(s) debt was incurred 7-1-2021
                                                                   Basis for the claim:    Lease
         Last 4 digits of account number
                                                                   Is the claim subject to offset?      No      Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         Avaya, Inc.
         c/o Sideman & Bancroft LLP                                   Contingent
         Attn: Zachary J. Alinder Esq.                                Unliquidated
         One Embarcadero Center, 22nd Floor                           Disputed
         San Francisco, CA 94111
                                                                   Basis for the claim:    Litigation
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?      No      Yes


3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $240.00
         Blue Point Voice & Data                                      Contingent
         5845 Avenida Encinas Ste. 134                                Unliquidated
         Carlsbad, CA 92008                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number   3581
                                                                   Is the claim subject to offset?      No      Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         City of Auburn Hills                                         Contingent
         Water Dept.                                                  Unliquidated
         1827 N. Squirrel Road                                        Disputed
         Auburn Hills, MI 48326
                                                                   Basis for the claim:    Goods Sold
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?      No      Yes


3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Consumers Energy                                             Contingent
         Attn: Bankruptcy                                             Unliquidated
         3201 E. Court Street, Room 84                                Disputed
         Flint, MI 48506
                                                                   Basis for the claim:    Utility Service
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?      No      Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 2 of 6



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Debtor      Atlas Systems, Inc.                                                             Case number (if known)
            Name

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,100.00
         Dcomcomputers                                                Contingent
         Attn: Dave Driest                                            Unliquidated
         16146 Hanover                                                Disputed
         Fraser, MI 48026
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number   8612                    Is the claim subject to offset?     No       Yes


3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,415.00
         Drew Telecom Group Inc.                                      Contingent
         Andrew Roach                                                 Unliquidated
         891 Wakefield Street                                         Disputed
         Plainwell, MI 49080
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         DTE                                                          Contingent
         One Energy Plaza                                             Unliquidated
         Detroit, MI 48226-1221                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Utility Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $15,371.34
         Dynamic Voice Data                                           Contingent
         Attn: Diane                                                  Unliquidated
         4403 Greenbriar Drive                                        Disputed
         Stafford, TX 77477
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $75.00
         Edison Technology Services, LLC                              Contingent
         1 Calvert Ave. W                                             Unliquidated
         Edison, NJ 08820-3168                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         Fabco Metal Products LLC                                     Contingent
         1490 Frances Drive                                           Unliquidated
         Daytona Beach, FL 32124                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $10.56
         Freedom Voice                                                Contingent
         169 Saxony Road, Ste. 214                                    Unliquidated
         Encinitas, CA 92024                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Utility Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Atlas Systems, Inc.                                                             Case number (if known)
            Name

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $120.00
         Future-Com, Inc.                                             Contingent
         Attn: Jeff Melloh                                            Unliquidated
         499 Hawthorne Ranch Drive                                    Disputed
         Prudenville, MI 48651
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,725.00
         Gilman School                                                Contingent
         5407 Roland Ave                                              Unliquidated
         Baltimore, MD 21210                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $221.00
         KMA Brokers                                                  Contingent
         51 Lake Street, Unit 1-1                                     Unliquidated
         Nashua, NH 03060                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $120.00
         Lennox Technologies                                          Contingent
         68 Morse Street                                              Unliquidated
         Foxboro, MA 02035                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,020.44
         Macondo Networks LLC                                         Contingent
         3 Middlebury Blvd. Ste. 14                                   Unliquidated
         Randolph, NJ 07869                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $172.00
         Midan                                                        Contingent
         108 Gateway Blvd, Ste. 207                                   Unliquidated
         Mooresville, NC 28117                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,227.46
         NTS Direct                                                   Contingent
         41 Main Street                                               Unliquidated
         Bolton, MA 01740                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Atlas Systems, Inc.                                                             Case number (if known)
            Name

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.55
         Priority1                                                    Contingent
                                                                      Unliquidated
         800 East Roosevelt Road                                      Disputed
         Little Rock, AR 72206
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $105.00
         Quazo Systems                                                Contingent
         2900 E. Miraloma Ave. Ste. C.                                Unliquidated
         Anaheim, CA 92806                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $450.00
         Relogistechs, Inc.                                           Contingent
         4300 Sterilite St. SE                                        Unliquidated
         Massillon, OH 44646                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Runco Waste                                                  Contingent
         P.O. Box 37379                                               Unliquidated
         21151 Meyers Road                                            Disputed
         Oak Park, MI 48237
                                                                   Basis for the claim:    Utility Service
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $123,809.00
         Sheppard, Mullin Richter & Hampton                           Contingent
         321 N. Clark Street                                          Unliquidated
         Chicago, IL 60654                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $560.00
         Sir Plus Co.                                                 Contingent
         1225 Rochester Road                                          Unliquidated
         Troy, MI 48083                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         South Summit Capital Management LLC                          Contingent
         4201 Congress Street, Ste. 470                               Unliquidated
         Charlotte, NC 28209                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor       Atlas Systems, Inc.                                                                    Case number (if known)
             Name

3.29      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $67.00
          Steven Troth                                                         Contingent
          6733 Marigold Circle                                                 Unliquidated
          Boones Mill, VA 24065                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.30      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,685.00
          Superior Telecom, LLC                                                Contingent
          Attn: Doug Shirley                                                   Unliquidated
          3101 S. Scenic Ave., Ste. C                                          Disputed
          Springfield, MO 65807
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?       No     Yes


3.31      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $204.94
          Worldwide Express                                                    Contingent
          29228 Network Place                                                  Unliquidated
          Chicago, IL 60673                                                    Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                        25,750.00
5b. Total claims from Part 2                                                                           5b.   +    $                       183,643.38

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                          209,393.38




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 6 of 6



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Fill in this information to identify the case:

Debtor name       Atlas Systems, Inc.

United States Bankruptcy Court for the:     EASTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Commercial lease
           lease is for and the nature of
           the debtor's interest

               State the term remaining          18 years
                                                                                    Atlas Property Holdings, LLC
           List the contract number of any                                          1220 Centre Road
                 government contract                                                Auburn Hills, MI 48326


2.2.       State what the contract or            Shareholder Agreement
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    Christoper Klow
           List the contract number of any                                          1722 Humphrey Avenue
                 government contract                                                Birmingham, MI 48009


2.3.       State what the contract or            Shareholder Agreement
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    Thomas Werthmann, II
           List the contract number of any                                          350 N. Main Street, Unit 911
                 government contract                                                Royal Oak, MI 48067




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1


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Fill in this information to identify the case:

Debtor name      Atlas Systems, Inc.

United States Bankruptcy Court for the:   EASTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                         Mailing Address                                          Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Christopher Klow             1722 Humphrey Avenue                                     Small Business                     D   2.3
                                       Birmingham, MI 48009                                     Administration                     E/F
                                                                                                                                   G




   2.2    Christopher Klow             1722 Humphrey Avenue                                     Jenne, Inc.                        D   2.2
                                       Birmingham, MI 48009                                                                        E/F
                                                                                                                                   G




   2.3    Thomas                       350 N. Main Street, Unit 911                             Ascentium Capital                  D   2.1
          Werthman, II                 Royal Oak, MI 48067                                                                         E/F
                                                                                                                                   G




   2.4    Thomas                       350 N. Main Street, Unit 911                             Small Business                     D   2.3
          Werthmann, II                Royal Oak, MI 48067                                      Administration                     E/F
                                                                                                                                   G




   2.5    Thomas                       350 N. Main Street, Unit 911                             U.S. Bank                          D   2.4
          Werthmann, II                Royal Oak, MI 48067                                                                         E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2

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Debtor    Atlas Systems, Inc.                                                     Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor




Official Form 206H                                              Schedule H: Your Codebtors                                Page 2 of 2

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                                                      United States Bankruptcy Court
                                                             Eastern District of Michigan
 In re    Atlas Systems, Inc.                                                                                     Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Christopher Klow                                                                                                             40% common stock
1722 Humphrey Ave.
Birmingham, MI 48009

Thomas Werthmann II                                                                                                          60% common stock
350 N. Main Street, Unit 911
Royal Oak, MI 48067


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Vice President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date April 10, 2023                                                      Signature /s/ Christopher Klow
                                                                                        Christopher Klow

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders



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                                               United States Bankruptcy Court
                                                     Eastern District of Michigan
 In re   Atlas Systems, Inc.                                                                     Case No.
                                                                     Debtor(s)                   Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the Vice President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




Date:     April 10, 2023                                 /s/ Christopher Klow
                                                         Christopher Klow/Vice President
                                                         Signer/Title




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                       Ascenda/ATI
                       750 Warrenville Road, Ste. 250
                       Lisle, IL 60532


                       Ascentium Capital
                       Attn: CT Corp as Agent
                       330 N. Brand Blvd, Ste. 700
                       Glendale, CA 91203


                       AT&T Mobility
                       2051 N. Squirrel Road
                       Auburn Hills, MI 48326


                       Atlas Property Holdings, LLC
                       1220 Centre Road
                       Auburn Hills, MI 48326


                       Avaya, Inc.
                       c/o Sideman & Bancroft LLP
                       Attn: Zachary J. Alinder Esq.
                       One Embarcadero Center, 22nd Floor
                       San Francisco, CA 94111


                       Blue Point Voice & Data
                       5845 Avenida Encinas Ste. 134
                       Carlsbad, CA 92008


                       Christoper Klow
                       1722 Humphrey Avenue
                       Birmingham, MI 48009


                       Christopher Klow
                       1722 Humphrey Avenue
                       Birmingham, MI 48009


                       City of Auburn Hills
                       Water Dept.
                       1827 N. Squirrel Road
                       Auburn Hills, MI 48326


                       Consumers Energy
                       Attn: Bankruptcy
                       3201 E. Court Street, Room 84
                       Flint, MI 48506



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                   Dcomcomputers
                   Attn: Dave Driest
                   16146 Hanover
                   Fraser, MI 48026


                   Drew Telecom Group Inc.
                   Andrew Roach
                   891 Wakefield Street
                   Plainwell, MI 49080


                   DTE
                   One Energy Plaza
                   Detroit, MI 48226-1221


                   Dynamic Voice Data
                   Attn: Diane
                   4403 Greenbriar Drive
                   Stafford, TX 77477


                   Edison Technology Services, LLC
                   1 Calvert Ave. W
                   Edison, NJ 08820-3168


                   Fabco Metal Products LLC
                   1490 Frances Drive
                   Daytona Beach, FL 32124


                   Freedom Voice
                   169 Saxony Road, Ste. 214
                   Encinitas, CA 92024


                   Future-Com, Inc.
                   Attn: Jeff Melloh
                   499 Hawthorne Ranch Drive
                   Prudenville, MI 48651


                   Gilman School
                   5407 Roland Ave
                   Baltimore, MD 21210


                   Internal Revenue Service
                   c/o United States Attorney
                   for the District of Michigan
                   211 W. Fort Street, Suite 2001
                   Detroit, MI 48226


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                   Jenne, Inc.
                   33665 Chester Road
                   Avon, OH 44011


                   KMA Brokers
                   51 Lake Street, Unit 1-1
                   Nashua, NH 03060


                   Lennox Technologies
                   68 Morse Street
                   Foxboro, MA 02035


                   Macondo Networks LLC
                   3 Middlebury Blvd. Ste. 14
                   Randolph, NJ 07869


                   Midan
                   108 Gateway Blvd, Ste. 207
                   Mooresville, NC 28117


                   NTS Direct
                   41 Main Street
                   Bolton, MA 01740


                   Priority1
                   800 East Roosevelt Road
                   Little Rock, AR 72206


                   Quazo Systems
                   2900 E. Miraloma Ave. Ste. C.
                   Anaheim, CA 92806


                   Relogistechs, Inc.
                   4300 Sterilite St. SE
                   Massillon, OH 44646


                   Runco Waste
                   P.O. Box 37379
                   21151 Meyers Road
                   Oak Park, MI 48237


                   Sheppard, Mullin Richter & Hampton
                   321 N. Clark Street
                   Chicago, IL 60654


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                   Sir Plus Co.
                   1225 Rochester Road
                   Troy, MI 48083


                   Small Business Administration
                   409 3rd St. SW
                   Washington, DC 20416


                   South Summit Capital Management LLC
                   4201 Congress Street, Ste. 470
                   Charlotte, NC 28209


                   State of Michigan
                   Dept of Treasury
                   3030 W. Grand Blvd.
                   Ste. 10-200
                   Detroit, MI 48202


                   Steven Troth
                   6733 Marigold Circle
                   Boones Mill, VA 24065


                   Superior Telecom, LLC
                   Attn: Doug Shirley
                   3101 S. Scenic Ave., Ste. C
                   Springfield, MO 65807


                   Thomas Werthman, II
                   350 N. Main Street, Unit 911
                   Royal Oak, MI 48067


                   Thomas Werthmann, II
                   350 N. Main Street, Unit 911
                   Royal Oak, MI 48067


                   U.S. Bank
                   1850 Osborn Ave.
                   Oshkosh, WI 54902


                   United States Attorney
                   Eastern District of Michigan
                   211 W. Fort Street, Suite 2001
                   Detroit, MI 48226




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                   Worldwide Express
                   29228 Network Place
                   Chicago, IL 60673




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